Case 20-50627-CTG   Doc 91-3   Filed 02/15/22   Page 1 of 28




    EXHIBIT C
Case Case
     2:10-cv-00131-TFM-CRE
          20-50627-CTG DocDocument
                           91-3 Filed
                                    2 02/15/22
                                       Filed 01/28/10
                                                 Page Page
                                                      2 of 28
                                                            1 of 27
Case Case
     2:10-cv-00131-TFM-CRE
          20-50627-CTG DocDocument
                           91-3 Filed
                                    2 02/15/22
                                       Filed 01/28/10
                                                 Page Page
                                                      3 of 28
                                                            2 of 27
Case Case
     2:10-cv-00131-TFM-CRE
          20-50627-CTG DocDocument
                           91-3 Filed
                                    2 02/15/22
                                       Filed 01/28/10
                                                 Page Page
                                                      4 of 28
                                                            3 of 27
Case Case
     2:10-cv-00131-TFM-CRE
          20-50627-CTG DocDocument
                           91-3 Filed
                                    2 02/15/22
                                       Filed 01/28/10
                                                 Page Page
                                                      5 of 28
                                                            4 of 27
Case Case
     2:10-cv-00131-TFM-CRE
          20-50627-CTG DocDocument
                           91-3 Filed
                                    2 02/15/22
                                       Filed 01/28/10
                                                 Page Page
                                                      6 of 28
                                                            5 of 27
Case Case
     2:10-cv-00131-TFM-CRE
          20-50627-CTG DocDocument
                           91-3 Filed
                                    2 02/15/22
                                       Filed 01/28/10
                                                 Page Page
                                                      7 of 28
                                                            6 of 27
Case Case
     2:10-cv-00131-TFM-CRE
          20-50627-CTG DocDocument
                           91-3 Filed
                                    2 02/15/22
                                       Filed 01/28/10
                                                 Page Page
                                                      8 of 28
                                                            7 of 27
Case Case
     2:10-cv-00131-TFM-CRE
          20-50627-CTG DocDocument
                           91-3 Filed
                                    2 02/15/22
                                       Filed 01/28/10
                                                 Page Page
                                                      9 of 28
                                                            8 of 27
CaseCase
     2:10-cv-00131-TFM-CRE
          20-50627-CTG Doc Document
                           91-3 Filed2 02/15/22
                                        Filed 01/28/10
                                                  Page 10
                                                       Page
                                                          of 28
                                                              9 of 27
Case Case
     2:10-cv-00131-TFM-CRE
          20-50627-CTG DocDocument
                           91-3 Filed
                                    2 02/15/22
                                       Filed 01/28/10
                                                 Page Page
                                                      11 of 28
                                                            10 of 27
Case Case
     2:10-cv-00131-TFM-CRE
          20-50627-CTG DocDocument
                           91-3 Filed
                                    2 02/15/22
                                       Filed 01/28/10
                                                 Page Page
                                                      12 of 28
                                                            11 of 27
Case Case
     2:10-cv-00131-TFM-CRE
          20-50627-CTG DocDocument
                           91-3 Filed
                                    2 02/15/22
                                       Filed 01/28/10
                                                 Page Page
                                                      13 of 28
                                                            12 of 27
Case Case
     2:10-cv-00131-TFM-CRE
          20-50627-CTG DocDocument
                           91-3 Filed
                                    2 02/15/22
                                       Filed 01/28/10
                                                 Page Page
                                                      14 of 28
                                                            13 of 27
Case Case
     2:10-cv-00131-TFM-CRE
          20-50627-CTG DocDocument
                           91-3 Filed
                                    2 02/15/22
                                       Filed 01/28/10
                                                 Page Page
                                                      15 of 28
                                                            14 of 27
Case Case
     2:10-cv-00131-TFM-CRE
          20-50627-CTG DocDocument
                           91-3 Filed
                                    2 02/15/22
                                       Filed 01/28/10
                                                 Page Page
                                                      16 of 28
                                                            15 of 27
Case Case
     2:10-cv-00131-TFM-CRE
          20-50627-CTG DocDocument
                           91-3 Filed
                                    2 02/15/22
                                       Filed 01/28/10
                                                 Page Page
                                                      17 of 28
                                                            16 of 27
Case Case
     2:10-cv-00131-TFM-CRE
          20-50627-CTG DocDocument
                           91-3 Filed
                                    2 02/15/22
                                       Filed 01/28/10
                                                 Page Page
                                                      18 of 28
                                                            17 of 27
Case Case
     2:10-cv-00131-TFM-CRE
          20-50627-CTG DocDocument
                           91-3 Filed
                                    2 02/15/22
                                       Filed 01/28/10
                                                 Page Page
                                                      19 of 28
                                                            18 of 27
Case Case
     2:10-cv-00131-TFM-CRE
          20-50627-CTG DocDocument
                           91-3 Filed
                                    2 02/15/22
                                       Filed 01/28/10
                                                 Page Page
                                                      20 of 28
                                                            19 of 27
Case Case
     2:10-cv-00131-TFM-CRE
          20-50627-CTG DocDocument
                           91-3 Filed
                                    2 02/15/22
                                       Filed 01/28/10
                                                 Page Page
                                                      21 of 28
                                                            20 of 27
Case Case
     2:10-cv-00131-TFM-CRE
          20-50627-CTG DocDocument
                           91-3 Filed
                                    2 02/15/22
                                       Filed 01/28/10
                                                 Page Page
                                                      22 of 28
                                                            21 of 27
Case Case
     2:10-cv-00131-TFM-CRE
          20-50627-CTG DocDocument
                           91-3 Filed
                                    2 02/15/22
                                       Filed 01/28/10
                                                 Page Page
                                                      23 of 28
                                                            22 of 27
Case Case
     2:10-cv-00131-TFM-CRE
          20-50627-CTG DocDocument
                           91-3 Filed
                                    2 02/15/22
                                       Filed 01/28/10
                                                 Page Page
                                                      24 of 28
                                                            23 of 27
Case Case
     2:10-cv-00131-TFM-CRE
          20-50627-CTG DocDocument
                           91-3 Filed
                                    2 02/15/22
                                       Filed 01/28/10
                                                 Page Page
                                                      25 of 28
                                                            24 of 27
Case Case
     2:10-cv-00131-TFM-CRE
          20-50627-CTG DocDocument
                           91-3 Filed
                                    2 02/15/22
                                       Filed 01/28/10
                                                 Page Page
                                                      26 of 28
                                                            25 of 27
Case Case
     2:10-cv-00131-TFM-CRE
          20-50627-CTG DocDocument
                           91-3 Filed
                                    2 02/15/22
                                       Filed 01/28/10
                                                 Page Page
                                                      27 of 28
                                                            26 of 27
Case Case
     2:10-cv-00131-TFM-CRE
          20-50627-CTG DocDocument
                           91-3 Filed
                                    2 02/15/22
                                       Filed 01/28/10
                                                 Page Page
                                                      28 of 28
                                                            27 of 27
